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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )
                                        )
            v.                          )         No. 4:07 CR 121 CAS
                                        )                         DDN
HUSSEIN ALI NURE,                       )
                                        )
                   Defendant.           )


                          ORDER AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

      This action is before the court upon the pretrial motions of the
parties which were referred to the undersigned United States Magistrate
Judge pursuant to 28 U.S.C. § 636(b).          An evidentiary hearing was held
on June 5, 2007.      At the parties' request, the undersigned gave the
parties until June 19 to file post-hearing memoranda.
      Defendant Hussein Ali Nure has moved to suppress evidence and
statements (Doc. 130 and oral motions filed May 7, 2007), and the
government has orally moved for a hearing on suppression issues (filed
May 7, 2007).    From the evidence adduced at the hearing, the undersigned
makes the following findings of fact and conclusions of law:


                                       FACTS
      1.     During the afternoon hours of December 28, 2006, St. Louis
Metropolitan     Police    Detective   Michael    Pratt    and   other   officers
participated in a federal investigation of the presence of illegal
automatic weapons at 9744 Medford in an unincorporated area of St. Louis
County. 1   The officers decided to attempt to obtain voluntary entrance
into the residence to continue the investigation and to retrieve the



      1
      During the late fall of 2006, St. Louis Metropolitan Police
Detective William McDonough, while detached to the Federal Bureau of
Investigation's Joint Terrorism Task Force, and other law enforcement
officers tracked and followed the whereabouts of two automatic machine-
gun weapons to a retail gas station and then to the residence at 9744
Medford.
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weapons; at that time there was no intention to arrest anyone.                 The
officers, seven or eight in number, who were all dressed in civilian
clothes except for blue windbreaker jackets that bore the word "Police,"
arrived at 9744 Medford at approximately 3:40 p.m.            The officers were
armed, but no one drew his weapon at all during the incident.           Det. Sgt.
Kruse and Det. Pratt approached the front door.             Other officers were
stationed around the building.            Det. Pratt stationed himself at the
corner of the building and Sgt. Kruse knocked on the front door and
identified himself as a police officer.
        2.      Several seconds after Sgt. Kruse knocked on the door, the
curtains of a nearby window parted and a black male looked out to see
who was at the door.       Then the officers heard a "thud" type noise of an
object falling to the floor nearby inside the residence.            Very shortly
                                      2
thereafter, the same black male           came to the front door.     Sgt. Kruse
told defendant that the police were there investigating the presence of
illegal weapons in the residence.           Defendant then opened the door and
stepped to the side, thereby voluntarily indicating to the officers that
they could enter the residence.       Without any objection by defendant, all
seven or eight of the officers present entered the residence.                Det.
Pratt then closed the front door.         Neither Det. Pratt nor Sgt. Kruse had
any knowledge about the defendant.
        3.      Inside the residence, Sgt. Kruse again explained why the
officers were there.       At that time defendant was dressed casually in a
tee shirt and sweat pants.        When he closed the front door, Det. Pratt
saw on the floor near the wall and behind where the door had been when
open a .25 caliber pistol.       Det. Pratt immediately picked up the pistol
and secured it.       As Det. Pratt did so, without being asked any question,
defendant spontaneously said that the gun was his and that he just used
it for protection.       Det. McDonough asked defendant whether anyone else
was in the residence.       Defendant responded that he was the only person
there.       The officers then made a cursory security sweep of the residence
for any other person and found no one.



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            Det. Pratt identified the black male as defendant Hussein Ali
Nure.

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     4.      Next, Det. Pratt asked defendant whether he would consent to
a search of the residence for weapons and handed defendant a written
Consent to Search form, Government Exhibit 1.             He asked defendant to
read it.     Defendant did so and at 3:45 p.m. signed the form, thereby
expressly consenting to the officers searching the residence.                 The
officers then searched the residence for weapons.            During the search,
because he was the only officer who remained with defendant, for the
security of the officers Det. Pratt handcuffed defendant.                  He and
defendant then sat on chairs around a folding table in the living room.
     5.      During the search, the officers found and seized from a
bedroom two automatic weapons which were the subjects of the earlier
briefing and the subjects of the investigation.          Also, the police found
a cell phone which contained a photograph of a black male.               The cell
phone was displayed to defendant who was asked whether he could identify
the subject.    Defendant said it was either himself or another person he
named.    At no time did defendant object to the search of his residence
or the seizure of the items.
     6.      Next,   Det.   Pratt     orally   advised      defendant    of    his
constitutional rights to remain silent and to counsel by reading them
to him from a card.    After each oral statement of a right, the officer
asked defendant whether he understood the right and each time defendant
answered in the affirmative.        Throughout this procedure defendant did
not appear nervous; he was calm and acted normally.
     7.      Approximately ten minutes after the officers entered the
residence, F.B.I. Special Agents Steven Smith and Matt Brummond arrived
and entered the residence. Agent Smith, knowing that defendant had been
advised of his Miranda rights and had given his consent to the officers
searching his residence, interviewed defendant in the living room.              He
identified himself and the other agent and then Det. Pratt uncuffed
defendant.    The agent asked defendant questions and defendant made oral
statements.    Throughout this interview, defendant was calm, lucid, and
cooperative.
     8.      Next, Det. Pratt asked defendant whether there were any more
weapons in the residence.     Defendant said, "No.       The only one I know is
that one," referring to the .25 caliber pistol.              The officer asked


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defendant whether he had any paperwork on the pistol.            In response,
defendant said, "That's not mine.       I can't really have a gun."        Det.
Pratt said, "I don't understand that.         What do you mean by that?"
Defendant responded, "I caught a dope case a couple of years ago in
Minnesota and I pleaded guilty."
     9.      At no time on December 28, 2006, did Det. Pratt or any
officer or agent draw or purposefully display his weapon to defendant.
No threat or promise was made to defendant to get him to cooperate with
the investigation, to make a statement, or to consent to the entry or
search of the residence.
     10.     After the search of the residence was concluded, Det. Pratt
told defendant that an arrest warrant would be applied for on account
of the weapons that were seized.     The officers and agents then left the
residence at approximately 5:12 p.m.     Defendant, who had been uncuffed,
remained in the residence not under arrest.


                                 DISCUSSION
     In his post-hearing brief (Doc. 154) defendant argues that the
December 28, 2006, police activity, including his interrogation and the
search, at 9744 Medford violated the Fourth Amendment.             The Fourth
Amendment prohibits unreasonable searches and seizures.          U.S. Const.
amend. IV.
     Defendant argues that the police activity was unconstitutionally
unreasonable because it occurred without a warrant; it occurred in St.
Louis County and was participated in by St. Louis Metropolitan Police
officers, who were acting outside their legal territorial jurisdiction
(the boundaries    of the City of St. Louis); there were no exigent
circumstances; and there was no notice of this investigation given to
the law enforcement authorities of St. Louis County.       In support of this
proposition, defendant adverts to Eighth Circuit case law.
     Abbott v. City of Crocker, Mo., 30 F.3d 994 (8th Cir. 1994),
involved a civil action for damages brought under 42 U.S.C. § 1983 based
upon allegations that police officers used excessive force and effected
an unauthorized arrest of the plaintiff.      One of the facts involved was
the pursuit of the plaintiff by an officer across the city limits of the


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officer's employment jurisdiction.           The court noted that the city of
Crocker, Missouri, was a fourth class city whose police officers are not
authorized by state law to exercise their authority outside the city
limits, citing Kimber v. Dir. of Revenue, 817 S.W.2d 627 (Mo. Ct. App.
1991). 3   The   Court   of    Appeals    invoked   established   Supreme   Court
principles in rejecting the argument that the arrest was unlawful under
the Fourth Amendment solely because it occurred outside the officer's
territorial jurisdiction.       The court stated,
      the question here is not whether the search was authorized
      by state law. The question is rather whether the search was
      reasonable under the Fourth Amendment.      Just as a search
      authorized by state law may be an unreasonable one under that
      amendment, so may a search not expressly authorized by state
      law be justified as a constitutionally reasonable one.

30 F.3d at 997-98 (quoting Cooper v. California, 386 U.S. 58, 61 (1967).
In so ruling, the court acknowledged that other Eighth Circuit opinions
were inconsistent.       E.g. Bissonette v. Haig, 800 F.2d 812 (8th Cir.
1986), Cole v. Neb. St. Bd. of Parole, 997 F.2d 442 (8th Cir. 1993),
Brock v. Logan County. Sheriff's Dep't of Ark. , 3 F.3d 1215 (8th Cir.
1993).
      The court majority in Abbott then restated the applicable rule:
      A police violation of state law does not establish a Fourth
      Amendment violation.   However, the question of compliance
      with state law may well be relevant in determining whether
      police conduct was reasonable for Fourth Amendment purposes.

30 F.3d at 998 (quoting United States v. Baker , 16 F.3d 854, 856 n.1
(8th Cir. 1994)).



      3
      In Kimber v. Dir. of Revenue, 817 S.W.2d 627 (Mo. Ct. App. 1991),
the Missouri Court of Appeals, in a civil action involving the
suspension of a subject's Missouri state driver's license to operate a
motor vehicle, while acknowledging the clear law of Missouri that
officers of a fourth class city may not effect arrests outside the
boundaries of the city, affirmed the existence of probable cause to
arrest the driver for driving while intoxicated. 817 S.W.2d at 631-32.
Cf. State v. Kilgore, 771 S.W.2d 57 (Mo. 1989)(although the state
conceded in a murder case that St. Louis City police exceeded their
powers to arrest under Missouri law (Mo.Rev.Stat. § 84.090) in St. Louis
County, this illegality was purged by the voluntariness of the
defendant's post-arrest statements). 771 S.W.2d at 61-62.

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       In this case, defendant's argument is without merit, because any
of    the   St.   Louis    City    officers'      actions   in   participating     in    the
investigation at or in defendant's residence was not a violation of
Missouri law.       Det. Pratt and the other officers employed by the Board
of Police Commissioners of the City of St. Louis, if not acting under
the direction of the F.B.I.'s task force, were authorized by Missouri
state law to act as they did outside the boundaries of the St. Louis
city limits.       State v. Boyd, 999 S.W.2d 276, 278 (Mo. Ct. App. 1999)(St.
Louis City police officers are authorized by Missouri law (Mo.Rev.Stat.
§ 70.820) to effect arrests in St. Louis County).
       Therefore, in the case at bar the court should look to the totality
of the circumstances of the incident to determine whether defendant's
Fourth      Amendment     rights   were      violated.      United    States v. Flores-
Sandoval, 474 F.3d 1142, 1145 (8th Cir. 2007).                   They were not.
       Defendant complains that the initial warrantless entry of the
police into his residence and the subsequent search violated the Fourth
Amendment.        However, the lack of a warrant, generally required by the
Fourth Amendment, becomes unnecessary when the actions of the officers
are    voluntarily       consented      to   by   the    defendant.       Schneckloth      v.
Bustamonte, 412 U.S. 218, 219 (1973); United States v. Bradley, 234 F.3d
363, 366-67 (8th Cir. 2000).
       The record indicates, the defendant does not gainsay, and the
undersigned       concludes      that   defendant       voluntarily    consented    to   the
officers      entering     his    residence without a warrant.              The officers
reasonably believed defendant had the authority to consent to their
warrantless entry into his residence and that he did so consent.                        Thus,
the officers' warrantless entry did not violate the Fourth Amendment.
See United States v. Matlock, 415 U.S. 164, 171 (1974); cf. Illinois v.
Rodriguez, 497 U.S. 177, 181-82 (1990); United States v. Yang, 345 F.3d
650, 656 (8th Cir. 2003)("The officer may ask for consent to search and
if consent is given, act on whatever information he acquires").
       Defendant's consent to the entry was voluntary, because it was not
the product of any coercive action by the police.                     Defendant was not
threatened or intimidated or promised anything by the police in exchange
for their being allowed to enter the residence.                       Defendant did not


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object to the entry, even after being told why the officers were there.
For the same reasons, after the officers entered the residence, nothing
in the evidence indicated that the defendant's ability not to consent
to a police search of the residence was impeded or limited by the
police.   In sum, defendant voluntarily consented to the officers' entry
and to their search of the residence.
      The initial seizure by Det. Pratt of the pistol from the floor near
the   front   door   was   lawful    even   without   a   warrant.     The   exigent
circumstances at the time justified the seizure of the weapon under the
Fourth Amendment.      Warden v. Hayden, 387 U.S. 294, 298-99 (1967).            When
he seized the pistol, Det. Pratt knew that the officer's initial
knocking on the front door was soon followed by the sound of an item
hitting the floor nearby inside the residence.              When the door opened
soon thereafter and the gun was seen, not only was it reasonable to
believe that defendant had some relationship to the weapon but also the
seizure of the weapon from a place of obvious concealment was necessary
for the security of the officers.
      Further,   the    officers     were   authorized    by   the   reasonableness
standard of the Fourth Amendment to make a cursory security sweep of the
residence for the presence of any other occupant who could harm them,
especially given the fact that the subject matter of their investigation
was the presence of illegal automatic weapons.              Maryland v. Buie, 494
U.S. 325, 327 (1990).
      For these reasons, the physical evidence obtained by the police
from the residence should not be suppressed.
      Similarly, except as set forth below, defendant's statements to the
police should not be suppressed.            The government has the burden of
establishing the constitutional admissibility of defendant's statements
by a preponderance of the evidence.         Colorado v. Connelly, 479 U.S. 157,
168 (1986).    The admissibility of a defendant's statements depends upon
whether the statements were constitutionally voluntary, id. at 169; and,
if the    statements    are   made   during    police interrogation while the
defendant was in custody, whether the defendant had been advised of his
rights, as prescribed by Miranda v. Arizona, 384 U.S. 436 (1966); and,
if so, whether the defendant knowingly and voluntarily waived the


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Miranda rights, North Carolina v. Butler, 441 U.S. 369, 373, 375-76
(1979).
      Defendant's statements were all constitutional ly voluntary, because
they were not the result of government overreaching, such as mental or
physical coercion, deception, or intimidation.             Colorado v. Connelly,
479 U.S. at 169-70.     Rather, defendant had decided to cooperate with the
police.
      The statement made by defendant regarding his ownership of the
pistol found behind the front door was not subject to the requirements
of   Miranda,    because   the    statement    was   not   made   in   response   to
interrogation, but was spontaneously made.           United States      v. Menteer,
350 F.3d 767, 770 (8th Cir. 2003), cert. granted and judgment vacated,
544 U.S. 916 (2005), opinion reinstated on remand , 408 F.3d 445 (8th
Cir. 2005).
      The statements made by defendant after he was handcuffed by Det.
Pratt were subject to the requirements of Miranda v. Arizona, because
defendant was then in custody.         Considering the indicia of whether one
is in custody for Miranda purposes, the record does not indicate that
defendant was told he was free to leave; many officers were inside his
residence and the door was closed by an officer; defendant was seated
at a table with an officer and was in handcuffs; and he did not initiate
the original contact with the officers, although he consented to their
entry into the residence.        Therefore, a reasonable person in defendant's
position would not have thought he was free to leave, and defendant was
in custody for Miranda purposes.        United States v. Brown, 990 F.2d 397,
399-400 (8th Cir. 1993).
      Therefore, the statement made by defendant about the photographic
image on the cell phone 4 should be suppressed as evidence against him.
      The subsequent statements made by defendant were made after he had
been advised of his Miranda rights and waived them.
      Whereupon,




      4
          See Finding 5, above.

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        IT IS HEREBY ORDERED that the oral motion of the government for a
hearing on suppression issues (filed February 6, 2007) is denied as
moot.
        IT IS HEREBY RECOMMENDED that the motions of defendant to suppress
evidence and statements (Doc. 130 and oral motion filed February 6,
2007) be sustained as to the statements made about the seized cell phone
and which are described in Finding 5. In all other respects, the motion
should be denied.
        The parties are advised they have until June 26, 2007, in which to
file written objections to this Order and Recommendation.         The failure
to file objections will waive the right to appeal issues of fact.




                                         /S/ David D. Noce
                                    DAVID D. NOCE
                                    UNITED STATES MAGISTRATE JUDGE



Signed on June 18, 2007.




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